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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS


    Douglas Rosenberg

                                    Plaintiff,
                                                                . NO 1:23-cv-10441-FDS
                            v.

    KEITH PATRICK GILL SERVICES, LLC,
    AND MASSACHUSETTS MUTUAL LIFE
    INSURANCE, MML INVESTORS CO.

                                    Defendants.




NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A) Plaintiff Douglas Rosenberg gives notice that this action
is voluntarily dismissed. Defendant Keith Gill has not served an answer or motion for summary judgment in
this action.

Accordingly, Plaintiff notices voluntary dismissal of this action, without prejudice. See Fed. R.

Civ. P. 41(a)(1)(B).




Pro Se




Douglas Rosenberg




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